            Case 05-45599-TJM    Doc 7   Filed 11/15/05 Entered 11/15/05 19:05:56                                                   Desc Main
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FORM B6A
(6/90)

In re:   Ryan D Schulkey                      Jennifer A Schulkey                            ,          Case No.         BK05-45599
                       Debtor                                                                                                         (If known)




                                SCHEDULE A - REAL PROPERTY




                                                                    HUSBAND, WIFE, JOINT
                                                                                                            CURRENT
                                                                                                        MARKET VALUE




                                                                      OR COMMUNITY
                                                                                                         OF DEBTOR'S
              DESCRIPTION AND                                                                             INTEREST IN                         AMOUNT OF
                                          NATURE OF DEBTOR'S
                LOCATION OF                                                                           PROPERTY WITHOUT                         SECURED
                                         INTEREST IN PROPERTY
                 PROPERTY                                                                               DEDUCTING ANY                           CLAIM
                                                                                                       SECURED CLAIM
                                                                                                         OR EXEMPTION




                                                            Total                                                              0.00
                                                                                           (Report also on Summary of Schedules.)
            Case 05-45599-TJM                      Doc 7       Filed 11/15/05 Entered 11/15/05 19:05:56                                  Desc Main
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FORM B6B
(10/89)

In re     Ryan D Schulkey                                          Jennifer A Schulkey             ,   Case No.           BK05-45599
                                       Debtor                                                                                             (If known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                  HUSBAND, WIFE, JOINT
                                                                                                                                              CURRENT




                                                                                                                    OR COMMUNITY
                                                                                                                                          MARKET VALUE OF
                                                                                                                                         DEBTOR'S INTEREST

                                                   NONE
                                                                        DESCRIPTION AND LOCATION                                         IN PROPERTY, WITH-
             TYPE OF PROPERTY                                                 OF PROPERTY                                                OUT DEDUCTING ANY
                                                                                                                                           SECURED CLAIM
                                                                                                                                            OR EXEMPTION



   1. Cash on hand                                        Cash located at Debtors' residence                           J                                20.00

   2. Checking, savings or other financial                Savings account at Centris, account no. 1180234              J                                 0.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan, thrift,
      building and loan, and homestead
      associations, or credit unions, brokerage
      houses, or cooperatives.


   3. Security deposits with public utilities,     X
      telephone companies, landlords, and
      others.


   4. Household goods and furnishings,                    Stove, refrigerator, dishes, pots and pans,                  J                               300.00
      including audio, video, and computer                dishwasher, microwave, table and chairs, bed, 2
      equipment.
                                                          dressers, crib, toddler's bed, couch, chair, lamp,
                                                          television, radio, VCR, washer, dryer, vacuum
                                                          cleaner,
   5. Books, pictures and other art objects,       X
      antiques, stamp, coin, record, tape,
      compact disc, and other collections or
      collectibles.


   6. Wearing apparel.                             X

   7. Furs and jewelry.                            X

   8. Firearms and sports, photographic, and       X
      other hobby equipment.


   9. Interests in insurance policies. Name        X
      insurance company of each policy and
      itemize surrender or refund value of
      each.


 10. Annuities. Itemize and name each              X
     issuer.


 11. Interests in IRA, ERISA, Keogh, or other      X
     pension or profit sharing plans. Itemize.


 12. Stock and interests in incorporated and       X
     unincorporated businesses. Itemize.


 13. Interests in partnerships or joint            X
     ventures. Itemize.
           Case 05-45599-TJM                        Doc 7       Filed 11/15/05 Entered 11/15/05 19:05:56                                   Desc Main
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FORM B6B
(10/89)

In re     Ryan D Schulkey                                           Jennifer A Schulkey              ,   Case No.           BK05-45599
                                       Debtor                                                                                               (If known)



                                         SCHEDULE B - PERSONAL PROPERTY
                                                                      (Continuation Sheet)




                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                CURRENT




                                                                                                                      OR COMMUNITY
                                                                                                                                            MARKET VALUE OF
                                                                                                                                           DEBTOR'S INTEREST

                                                    NONE
                                                                        DESCRIPTION AND LOCATION                                           IN PROPERTY, WITH-
            TYPE OF PROPERTY                                                  OF PROPERTY                                                  OUT DEDUCTING ANY
                                                                                                                                             SECURED CLAIM
                                                                                                                                              OR EXEMPTION


 14. Government and corporate bonds and             X
     other negotiable and nonnegotiable
     instruments.


 15. Accounts receivable.                           X

 16. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.


 17. Other liquidated debts owing debtor            X
     including tax refunds. Give particulars.


 18. Equitable or future interests, life estates,   X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule of Real Property.


 19. Contingent and noncontingent interests         X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.


 20. Other contingent and unliquidated              X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.


 21. Patents, copyrights, and other                 X
     intellectual property. Give particulars.


 22. Licenses, franchises, and other general        X
     intangibles. Give particulars.


 23. Automobiles, trucks, trailers, and other              1968 Plymouth                                                 J                                200.00
     vehicles and accessories.


                                                           1995 Ford Taurus-needs a lot of repairs                       J                                200.00

                                                           1998 Plymouth Gran Voyager                                    J                               5,500.00

 24. Boats, motors, and accessories.                X

 25. Aircraft and accessories.                      X

 26. Office equipment, furnishings, and             X
     supplies.
           Case 05-45599-TJM                   Doc 7      Filed 11/15/05 Entered 11/15/05 19:05:56                                      Desc Main
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FORM B6B
(10/89)

In re     Ryan D Schulkey                                      Jennifer A Schulkey             ,   Case No.              BK05-45599
                                    Debtor                                                                                               (If known)



                                      SCHEDULE B - PERSONAL PROPERTY
                                                                  (Continuation Sheet)




                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                             CURRENT




                                                                                                                   OR COMMUNITY
                                                                                                                                         MARKET VALUE OF
                                                                                                                                        DEBTOR'S INTEREST

                                               NONE
                                                                    DESCRIPTION AND LOCATION                                            IN PROPERTY, WITH-
            TYPE OF PROPERTY                                              OF PROPERTY                                                   OUT DEDUCTING ANY
                                                                                                                                          SECURED CLAIM
                                                                                                                                           OR EXEMPTION


 27. Machinery, fixtures, equipment and        X
     supplies used in business.


 28. Inventory.                                X

 29. Animals.                                  X

 30. Crops - growing or harvested. Give        X
     particulars.


 31. Farming equipment and implements.         X

 32. Farm supplies, chemicals, and feed.       X

 33. Other personal property of any kind not   X
     already listed. Itemize.



                                                      2   continuation sheets attached                   Total                                    $ 6,220.00

                                                                                                              (Include amounts from any continuation sheets
                                                                                                              attached. Report total also on Summary of
                                                                                                              Schedules.)
            Case 05-45599-TJM                   Doc 7     Filed 11/15/05 Entered 11/15/05 19:05:56                                 Desc Main
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FORM B6C
(6/90)

In re    Ryan D Schulkey                                    Jennifer A Schulkey                           , Case No.    BK05-45599
                                      Debtor.                                                                                      (If known)



                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor elects the exemption to which debtor is entitled under:


(Check one box)

   11 U.S.C. § 522(b)(1)        Exemptions provided in 11 U.S.C. § 522(d).        Note: These exemptions are available only in certain states.

 11 U.S.C. § 522(b)(2)         Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has
                                been located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day period
                                than in any other place, and the debtor's interest as a tenant by the entirety or joint tenant to the extent the interest is
                                exempt from process under applicable nonbankruptcy law.



                                                                                                 VALUE OF                      CURRENT MARKET
                                                          SPECIFY LAW
                                                                                                 CLAIMED                      VALUE OF PROPERTY,
         DESCRIPTION OF PROPERTY                         PROVIDING EACH
                                                           EXEMPTION                            EXEMPTION                     WITHOUT DEDUCTING
                                                                                                                                  EXEMPTIONS

1968 Plymouth                              R.R.S. § 25-1556(4)                                               0.00                                  200.00
1995 Ford Taurus-needs a lot               R.R.S. § 25-1552                                               200.00                                   200.00
of repairs
1998 Plymouth Gran Voyager                 R.R.S. § 25-1556(4)                                            836.40                                 5,500.00
Cash located at Debtors'                   R.R.S. § 25-1552                                                20.00                                    20.00
residence
Stove, refrigerator, dishes,               R.R.S. § 25-1556(3)                                            300.00                                   300.00
pots and pans, dishwasher,
microwave, table and chairs,
bed, 2 dressers, crib, toddler's
bed, couch, chair, lamp,
television, radio, VCR, washer,
dryer, vacuum cleaner,
               Case 05-45599-TJM                      Doc 7                 Filed 11/15/05 Entered 11/15/05 19:05:56                                                                            Desc Main
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FORM B6D
(12/03)

In re:   Ryan D Schulkey                                                    Jennifer A Schulkey                                      ,                                  Case No.            BK05-45599
                                            Debtor                                                                                                                                                   (If known)


                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

                                                                                                                                                                                             AMOUNT




                                                                            HUSBAND, WIFE, JOINT
                                                                                                     DATE CLAIM WAS INCURRED,
                                                                                                                                                                                             OF CLAIM




                                                                                                                                                                  UNLIQUIDATED
                                                                              OR COMMUNITY
                        CREDITOR'S NAME,                                                                NATURE OF LIEN, AND




                                                                                                                                                   CONTINGENT
                                                                                                                                                                                                              UNSECURED




                                                                 CODEBTOR




                                                                                                                                                                                 DISPUTED
                        MAILING ADDRESS                                                               DESCRIPTION AND MARKET                                                                 WITHOUT
                                                                                                                                                                                                               PORTION,
                      INCLUDING ZIP CODE,                                                               VALUE OF PROPERTY                                                                   DEDUCTING
                                                                                                                                                                                                                IF ANY
                     AND ACCOUNT NUMBER                                                                   SUBJECT TO LIEN                                                                    VALUE OF
                      (See instructions, above.)                                                                                                                                            COLLATERAL


ACCOUNT NO.
               846544                                                                                                                                                                           4,663.60            0.00
Wheels                                                                                             1998 Plymouth Gran Voyager
                                                                                                   __________________________
505 Rodeo Road
                                                                                                   VALUE $5,500.00
North Platte, NE 69101




ACCOUNT NO.
               10045701                                                       J 06/23/2005                                                                                                      2,748.90            0.00
Whitetail Finance                                                                                  1995 Ford Taurus-needs a lot of
                                                                                                   repairs
310 East Fourth Street
                                                                                                   1968 Plymouth- does not run
North Platte, NE 69101                                                                             __________________________
                                                                                                   VALUE $400.00




0 Continuation sheets attached
                                                                                                                                 Subtotal                                                      $7,412.50
                                                                                                                                         (Total of this page)
                                                                                                                                         Total                                                 $7,412.50
                                                                                                                                (Use only on last page)


                                                                                                                                                                (Report total also on Summary of Schedules)
                Case 05-45599-TJM                     Doc 7        Filed 11/15/05 Entered 11/15/05 19:05:56                                   Desc Main
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Form B6E
(04/04)

In re       Ryan D Schulkey                                                Jennifer A Schulkey                          ,        Case No.   BK05-45599
                                           Debtor                                                                                                 (If known)


                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

 TYPES OF PRIORITY CLAIMS                   (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


       Extensions of credit in an involuntary case

        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but
        before the earlier of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).

  Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions
        owing to qualifying independent sales representatives up to $4,925* per person earned within 90 days immediately preceding
        the filing of the original petition, or the cessation of business, whichever occurred first, to the extent provided in
        11 U.S.C. § 507(a)(3).

       Contributions to employee benefit plans

        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original
        petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

       Certain farmers and fishermen

        Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11
        U.S.C. § 507(a)(5).

       Deposits by individuals

        Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal,
        family, or household use, that were not delivered or provided. 11 U.S.C. § 507(a)(6).

       Alimony, Maintenance, or Support

        Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in
        11 U.S.C. § 507(a)(7).

       Taxes and Certain Other Debts Owed to Governmental Units

        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11
        U.S.C. § 507(a)(8).
       Commitments to Maintain the Capital of an Insured Depository Institution

        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency,
        or Board of Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of
        an insured depository institution. 11 U.S.C. § 507(a)(9).

       Other Priority Debts

        * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or
        after the date of adjustment.




                                                                     1 Continuation sheets attached
               Case 05-45599-TJM                     Doc 7             Filed 11/15/05 Entered 11/15/05 19:05:56                                                                                    Desc Main
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Form B6E - Cont.
(04/04)

In re      Ryan D Schulkey                                                    Jennifer A Schulkey                                                ,          Case No.                              BK05-45599
                            Debtor                                                                                                                                                                      (If known)


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS




                                                                           HUSBAND, WIFE, JOINT
                      CREDITOR'S NAME,                                                                  DATE CLAIM WAS                                                                            AMOUNT             AMOUNT




                                                                                                                                                                        UNLIQUIDATED
                                                                             OR COMMUNITY




                                                                                                                                                           CONTINGENT
                                                                CODEBTOR
                       MAILING ADDRESS                                                            INCURRED AND CONSIDERATION                                                                      OF CLAIM           ENTITLED




                                                                                                                                                                                       DISPUTED
                     INCLUDING ZIP CODE,                                                                   FOR CLAIM                                                                                                    TO
                    AND ACCOUNT NUMBER                                                                                                                                                                               PRIORITY
                        (See instructions.)



 ACCOUNT NO.




                                                                                                                                                    Subtotal
Sheet no. 1 of 1 sheets attached to Schedule of Creditors Holding Priority Claims                                                       (Total of this page)
                                                                                                                                                                                                      $0.00
                                                                                                                                                     Total
                                                                                                       (Use only on last page of the completed Schedule E.)
                                                                                                                                                                                                      $0.00
                                                                                                                                        (Report total also on Summary of Schedules)
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Form B6F (12/03)


In re     Ryan D Schulkey                                                             Jennifer A Schulkey                           ,       Case No.                       BK05-45599
                                        Debtor                                                                                                                                         (If known)


         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

          Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




                                                                           HUSBAND, WIFE, JOINT
                                                                             OR COMMUNITY




                                                                                                                                                            UNLIQUIDATED
                 CREDITOR'S NAME,




                                                                                                                                               CONTINGENT
                                                                                                       DATE CLAIM WAS INCURRED




                                                                CODEBTOR




                                                                                                                                                                            DISPUTED
                 MAILING ADDRESS                                                                     AND CONSIDERATION FOR CLAIM.                                                        AMOUNT OF
               INCLUDING ZIP CODE,                                                                       IF CLAIM IS SUBJECT TO                                                            CLAIM
              AND ACCOUNT NUMBER                                                                            SETOFF, SO STATE
               (See instructions, above.)


ACCOUNT NO.                                                                 J                     Various                                                                                           478.00
Allergy, Asthma & Immunol                                                                         Medical services
Suite 210
2808 South 80th Avenue
Omaha, NE 68124


ACCOUNT NO.            3M66CT56789                                          J                     Various                                                                                       1,384.91
Allied Interstate                                                                                 Account of MCI
P.O. Box 361373
Col.umbus, OH 43236



ACCOUNT NO.            55876644                                             J                     Various                                                                                       1,197.00
AMO Recoveries                                                                                    Account of Alltel
Suite 202
4425 West Olive Avenue
Glendale, AZ 85302


ACCOUNT NO.                                                                 J                     Various                                                                                           753.50
Anesthesia Consultants NE, Inc.                                                                   Medical services
P.O. Box 1089
North Platte, NE 69103-1089



ACCOUNT NO.                                                                 J                     Various                                                                                            39.54
Apria Health Care                                                                                 Medicfal services
1716 Solutions Center
Chicago, IL 60677-1007




                   5    Continuation sheets attached
                                                                                                                                Subtotal
                                                                                                                                                                                               $3,852.95

                                                                                                                                    Total
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Form B6F - Cont.
(12/03)

 In re    Ryan D Schulkey                                                             Jennifer A Schulkey                                                   ,        Case No.                        BK05-45599
                                      Debtor                                                                                                                                                                     (If known)


         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                  (Continuation Sheet)




                                                                           HUSBAND, WIFE, JOINT
                                                                             OR COMMUNITY




                                                                                                                                                                                      UNLIQUIDATED
                 CREDITOR'S NAME,




                                                                                                                                                                         CONTINGENT
                                                                                                       DATE CLAIM WAS INCURRED




                                                                CODEBTOR




                                                                                                                                                                                                      DISPUTED
                 MAILING ADDRESS                                                                     AND CONSIDERATION FOR CLAIM.                                                                                  AMOUNT OF
               INCLUDING ZIP CODE,                                                                       IF CLAIM IS SUBJECT TO                                                                                      CLAIM
              AND ACCOUNT NUMBER                                                                            SETOFF, SO STATE
               (See instructions, above.)


ACCOUNT NO.                                                                 J                     Various                                                                                                                 5,115.00
 Blair Apartments                                                                                 Rental
 7401A North 18th Avenue
 Blair, NE 68008



ACCOUNT NO.        62357971008                                              J                     Various                                                                                                                     282.21
 Children's                                                                                       Medical services
 P.O. Box 247036
 Omaha, NE 68124-7036



ACCOUNT NO.                                                                 J                     Various                                                                                                                     108.86
 Credit Bureau Services, Inc.                                                                     Account of Fremont National Bank
 P.O. Box 318
 Fremont, NE 68026



ACCOUNT NO.                                                                 J                     Various                                                                                                                       0.00
 Credit Management Services                                                                       Various accounts
 P.O. Box 1512
 Grand Island, NE 68802-1512



ACCOUNT NO.                                                                 J                     Various                                                                                                                     128.00
 Credit Protection Agency                                                                         Account of Charter Communications
 P.O. Box 802068
 Dallas, TX 75380-2068




Sheet no. 1 of 5 continuation sheets attached to Schedule of Creditors Holding Unsecured Nonpriority                                                     Subtotal
                                                                                                                                                                                                                         $5,634.07
Claims                                                                                                                                        (Total of this page)

                                                                                                                                                           Total
                                                                                                            (Use only on last page of the completed Schedule F.)
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Form B6F - Cont.
(12/03)

 In re    Ryan D Schulkey                                                             Jennifer A Schulkey                                                     ,        Case No.                        BK05-45599
                                      Debtor                                                                                                                                                                       (If known)


         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                  (Continuation Sheet)




                                                                           HUSBAND, WIFE, JOINT
                                                                             OR COMMUNITY




                                                                                                                                                                                        UNLIQUIDATED
                 CREDITOR'S NAME,




                                                                                                                                                                           CONTINGENT
                                                                                                       DATE CLAIM WAS INCURRED




                                                                CODEBTOR




                                                                                                                                                                                                        DISPUTED
                 MAILING ADDRESS                                                                     AND CONSIDERATION FOR CLAIM.                                                                                    AMOUNT OF
               INCLUDING ZIP CODE,                                                                       IF CLAIM IS SUBJECT TO                                                                                        CLAIM
              AND ACCOUNT NUMBER                                                                            SETOFF, SO STATE
               (See instructions, above.)


ACCOUNT NO.                                                                 J                     Various                                                                                                                       276.54
 Fremont Dept. of Utilities                                                                       Utilities
 P.O. Box 1468
 Fremont, NE 68026-1468



ACCOUNT NO.                                                                 J                     Various                                                                                                                        65.00
 Fremont Pediatric & Adolescent Care                                                              Medical services
 P.O. Box 447
 Fremont, NE 68026-0447



ACCOUNT NO.        31733186-01                                              J                     Various                                                                                                                       510.00
 Gallagher Benefit Administrators                                                                 Account of GPRMC
 P.O. Box 8004
 Itasca, IL 60143-8004



ACCOUNT NO.                                                                 J                     Various                                                                                                                       689.00
 General Service Bureau, Inc.                                                                     Accoiunt of Heart Consultants, P.C.
 8429 Blondo Street
 Omaha, NE 68134-6200



ACCOUNT NO.                                                                 J                     Various                                                                                                                  11,480.00
 GPRMC                                                                                            Medical services
 P.O. Box 1167
 North Platte, NE 69103-1167




Sheet no. 2 of 5 continuation sheets attached to Schedule of Creditors Holding Unsecured Nonpriority                                                       Subtotal
                                                                                                                                                                                                                         $13,020.54
Claims                                                                                                                                          (Total of this page)

                                                                                                                                                             Total
                                                                                                              (Use only on last page of the completed Schedule F.)
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Form B6F - Cont.
(12/03)

 In re    Ryan D Schulkey                                                             Jennifer A Schulkey                                                   ,        Case No.                        BK05-45599
                                      Debtor                                                                                                                                                                     (If known)


         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                  (Continuation Sheet)




                                                                           HUSBAND, WIFE, JOINT
                                                                             OR COMMUNITY




                                                                                                                                                                                      UNLIQUIDATED
                 CREDITOR'S NAME,




                                                                                                                                                                         CONTINGENT
                                                                                                       DATE CLAIM WAS INCURRED




                                                                CODEBTOR




                                                                                                                                                                                                      DISPUTED
                 MAILING ADDRESS                                                                     AND CONSIDERATION FOR CLAIM.                                                                                  AMOUNT OF
               INCLUDING ZIP CODE,                                                                       IF CLAIM IS SUBJECT TO                                                                                      CLAIM
              AND ACCOUNT NUMBER                                                                            SETOFF, SO STATE
               (See instructions, above.)


ACCOUNT NO.                                                                 J                     Various                                                                                                                     916.00
 Heart Consultants                                                                                Medical services
 Suite 6100
 6828 North 72nd Street
 Omaha, NE 68122


ACCOUNT NO.        233-557-9631W                                            J                     Various                                                                                                                     106.20
 Huntel CableVision                                                                               Cable television
 1605 Washington
 Blair, NE 68008



ACCOUNT NO.                                                                 J                     Various                                                                                                                      42.00
 Merchants Credit Adjusters                                                                       Account of Midwest Medical
 6818 Grover Str., Ste. 200
 Omaha, NE 68106-3632



ACCOUNT NO.        11104                                                    J                     Various                                                                                                                 1,593.55
 Midlands Family Medicine                                                                         Medical services
 611 West Francis, Ste. 100
 North Platte, NE 69101



ACCOUNT NO.                                                                 J                     Various                                                                                                                     233.00
 Mid-Plains Community College                                                                     Expenses
 601 West State Farm Road
 North Platte, NE 69101




Sheet no. 3 of 5 continuation sheets attached to Schedule of Creditors Holding Unsecured Nonpriority                                                     Subtotal
                                                                                                                                                                                                                         $2,890.75
Claims                                                                                                                                        (Total of this page)

                                                                                                                                                           Total
                                                                                                            (Use only on last page of the completed Schedule F.)
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Form B6F - Cont.
(12/03)

 In re    Ryan D Schulkey                                                             Jennifer A Schulkey                                                     ,        Case No.                        BK05-45599
                                      Debtor                                                                                                                                                                       (If known)


         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                  (Continuation Sheet)




                                                                           HUSBAND, WIFE, JOINT
                                                                             OR COMMUNITY




                                                                                                                                                                                        UNLIQUIDATED
                 CREDITOR'S NAME,




                                                                                                                                                                           CONTINGENT
                                                                                                       DATE CLAIM WAS INCURRED




                                                                CODEBTOR




                                                                                                                                                                                                        DISPUTED
                 MAILING ADDRESS                                                                     AND CONSIDERATION FOR CLAIM.                                                                                    AMOUNT OF
               INCLUDING ZIP CODE,                                                                       IF CLAIM IS SUBJECT TO                                                                                        CLAIM
              AND ACCOUNT NUMBER                                                                            SETOFF, SO STATE
               (See instructions, above.)


ACCOUNT NO.        061-00023942-08                                          J                     Various                                                                                                                         39.73
 Municipal Light & Water                                                                          Utilities
 P.O. Box 490
 North Platte, NE 69103-0490



ACCOUNT NO.                                                                 J                     Various                                                                                                                          0.00
 Music
 P.O. Box 1958
 Indianapolis, IN 46291-0010



ACCOUNT NO.        C1/29675                                                 J                     Various                                                                                                                        127.56
 Nationwide Collections, Inc.                                                                     Account of ATC100
 805 Virginia Avenue, Suite 1
 Fort Pierce, FL 34982-5881



ACCOUNT NO.        N1603128011766, TYPE                                     J                     Various                                                                                                                         24.26
 North Shore Agency                                                                               Account of Grolier Books
 P.O. Box 8901
 Westbury, NY 11590-8901



ACCOUNT NO.        8691605580                                               J                     Various                                                                                                                        201.35
 OPPD                                                                                             Medical services
 P.O. Box 3995
 Omaha, NE 68103




Sheet no. 4 of 5 continuation sheets attached to Schedule of Creditors Holding Unsecured Nonpriority                                                       Subtotal
                                                                                                                                                                                                                                $392.90
Claims                                                                                                                                          (Total of this page)

                                                                                                                                                             Total
                                                                                                              (Use only on last page of the completed Schedule F.)
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Form B6F - Cont.
(12/03)

 In re    Ryan D Schulkey                                                             Jennifer A Schulkey                                                   ,        Case No.                        BK05-45599
                                      Debtor                                                                                                                                                                     (If known)


         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                  (Continuation Sheet)




                                                                           HUSBAND, WIFE, JOINT
                                                                             OR COMMUNITY




                                                                                                                                                                                      UNLIQUIDATED
                 CREDITOR'S NAME,




                                                                                                                                                                         CONTINGENT
                                                                                                       DATE CLAIM WAS INCURRED




                                                                CODEBTOR




                                                                                                                                                                                                      DISPUTED
                 MAILING ADDRESS                                                                     AND CONSIDERATION FOR CLAIM.                                                                                    AMOUNT OF
               INCLUDING ZIP CODE,                                                                       IF CLAIM IS SUBJECT TO                                                                                        CLAIM
              AND ACCOUNT NUMBER                                                                            SETOFF, SO STATE
               (See instructions, above.)


ACCOUNT NO.                                                                 J                     Various                                                                                                                           83.02
 Pathology Services, P.C.                                                                         Medical services
 P.O. Box 1289
 North Platte, NE 69103-1289



ACCOUNT NO.                                                                 J                     Various                                                                                                                           25.00
 Physicians Laboratory, P.C.                                                                      Medical services
 P.O. Box 27999
 Omaha, NE 68127-0999



ACCOUNT NO.                                                                 J                     Various                                                                                                                           24.00
 Progressive                                                                                      Medical services
 P.O. Box 6949
 Cleveland, OH 44101



ACCOUNT NO.        710349499                                                J                     Various                                                                                                                         144.30
 RMCB Collection Agency                                                                           Account of Grolier Telemarketing
 Building 3
 2269 South Saw Mill River Road
 Elmsford, NY 10523


ACCOUNT NO.                                                                 J                     Various                                                                                                                         821.68
 Snell Services, Inc.                                                                             Repairs
 P.O. Box 629
 North Platte, NE 69103-0629




Sheet no. 5 of 5 continuation sheets attached to Schedule of Creditors Holding Unsecured Nonpriority                                                     Subtotal
                                                                                                                                                                                                                             $1,098.00
Claims                                                                                                                                        (Total of this page)

                                                                                                                                                           Total                                                           $26,889.21
                                                                                                            (Use only on last page of the completed Schedule F.)

                                                                                                                                                                                                            (Report also on Summary of Schedules)
            Case 05-45599-TJM                  Doc 7      Filed 11/15/05 Entered 11/15/05 19:05:56                     Desc Main
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Form B6G
(10/89)

In re:    Ryan D Schulkey                                     Jennifer A Schulkey                       Case No.   BK05-45599
                                                                                                   ,
                                      Debtor                                                                               (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          Check this box if debtor has no executory contracts or unexpired leases.


                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
             NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                            DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
               OF OTHER PARTIES TO LEASE OR CONTRACT.                                NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                         NUMBER OF ANY GOVERNMENT CONTRACT.
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B6H
(6/90)
In re:   Ryan D Schulkey                                     Jennifer A Schulkey     ,   Case No.   BK05-45599
                               Debtor                                                                        (If known)


                                              SCHEDULE H - CODEBTORS
           Check this box if debtor has no codebtors.



                    NAME AND ADDRESS OF CODEBTOR                                   NAME AND ADDRESS OF CREDITOR
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Form B6I
(12/03)
In re     Ryan D Schulkey                                     Jennifer A Schulkey            , Case No.       BK05-45599
                                                  Debtor                                                                       (If known)




           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
Debtor’s Marital
                                                                DEPENDENTS OF DEBTOR AND SPOUSE
Status:       Married
                                               RELATIONSHIP                                                                AGE
                                         Daughter                                                                                           4
                                         Son                                                                                                1
Employment:                                           DEBTOR                                                   SPOUSE
Occupation                     Laborer                                                      CNA
Name of Employer               Bill Summers Ford                                            Linden Court
How long employed              2 months                                                     3 weeks
Address of Employer            I-80 & US Highway 83                                        4000 West Philip
                               North Platte, NE 69101                                      North Platte, NE 69101

Income: (Estimate of average monthly income)                                                              DEBTOR                   SPOUSE
Current monthly gross wages, salary, and commissions
(pro rate if not paid monthly.)                                                              $                1,060.00 $                        888.00
Estimated monthly overtime                                                                   $                     0.00 $                         0.00

SUBTOTAL                                                                                     $               1,060.00      $                888.00
        LESS PAYROLL DEDUCTIONS
        a. Payroll taxes and social security                                                  $                 209.70 $                         61.89
                                                                                              $                   0.00 $                          0.00
        b. Insurance
        c. Union dues                                                                         $                   0.00 $                          0.00
        d. Other (Specify)                                                                    $                     0.00   $                      0.00

 SUBTOTAL OF PAYROLL DEDUCTIONS                                                              $                  209.70 $                         61.89
TOTAL NET MONTHLY TAKE HOME PAY                                                              $                  850.30 $                        826.11
Regular income from operation of business or profession or farm
(attach detailed statement)                                                                  $                     0.00 $                         0.00
Income from real property                                                                    $                     0.00 $                         0.00
Interest and dividends                                                                       $                     0.00 $                         0.00
Alimony, maintenance or support payments payable to the debtor for the
debtor’s use or that of dependents listed above.                                             $                     0.00 $                         0.00
Social security or other government assistance
(Specify)                                                                                    $                     0.00 $                         0.00
Pension or retirement income                                                                 $                     0.00    $                      0.00
Other monthly income
(Specify)                                                                                     $                     0.00   $                      0.00


TOTAL MONTHLY INCOME                                                                          $                 850.30 $                        826.11

TOTAL COMBINED MONTHLY INCOME                                     $ 1,676.41              (Report also on Summary of Schedules)
Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following
the filing of this document:                           NONE
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Form B6J
(6/90)

  In re   Ryan D Schulkey                                           Jennifer A Schulkey                    ,     Case No.       BK05-45599
             Debtor                                                                                                            (If known)

               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

      Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate
      schedule of expenditures labeled "Spouse".
Rent or home mortgage payment (include lot rented for mobile home)                                                      $               342.00
Are real estate taxes included?               Yes                       No         
Is property insurance included?               Yes                       No         
Utilities Electricity and heating fuel                                                                                  $               240.00
          Water and sewer                                                                                               $               175.00
            Telephone                                                                                                   $                63.00
            Other                                                                                                       $                   0.00
Home maintenance (repairs and upkeep)                                                                                   $               150.00
Food                                                                                                                    $               350.00
Clothing                                                                                                                $               150.00
Laundry and dry cleaning                                                                                                $                30.00
Medical and dental expenses                                                                                             $               100.00
Transportation (not including car payments)                                                                             $               200.00
Recreation, clubs and entertainment, newspapers, magazines, etc.                                                        $                 0.00
Charitable contributions                                                                                                $                 0.00
Insurance (not deducted from wages or included in home mortgage payments)
              Homeowner’s or renter’s                                                                                   $                 0.00
              Life                                                                                                      $                 0.00
              Health                                                                                                    $                 0.00
              Auto                                                                                                      $               188.00
               Other                                                                                                    $                   0.00
Taxes (not deducted from wages or included in home mortgage payments)
(Specify)                                                                                                               $                   0.00
Installment payments: (In chapter 12 and 13 cases, do not list payments to be included in the plan)
              Auto                                                                                                      $               447.00
             Other                                                                                                      $                   0.00
Alimony, maintenance or support paid to others                                                                          $                   0.00
Payments for support of additional dependents not living at your home                                                   $                   0.00
Regular expenses from operation of business, profession, or farm (attach detailed statement)                            $                   0.00
Other                                                                                                                   $                   0.00

TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                            $            2,435.00
[FOR CHAPTER 12 AND 13 DEBTORS ONLY]
Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at
some other regular interval.
A. Total projected monthly income                                                                                       $
B. Total projected monthly expenses                                                                                     $
C. Excess income (A minus B)                                                                                            $
D. Total amount to be paid into plan each                                                                               $
                                                                                 (interval)
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Form B6
(6/90)


                                                        United States Bankruptcy Court
                                                                 District of Nebraska
In re     Ryan D Schulkey                                  Jennifer A Schulkey                             Case No.     BK05-45599
                                                                                                           Chapter       7


                                                      SUMMARY OF SCHEDULES
                                                                                                               AMOUNTS SCHEDULED

                                           ATTACHED
           NAME OF SCHEDULE                               NO. OF SHEETS             ASSETS                            LIABILITIES                OTHER
                                            (YES/NO)


                                             YES                            $
  A - Real Property                                                    1                            0.00

  B - Personal Property                      YES                            $
                                                                       3                    6,220.00

  C - Property Claimed
      as Exempt                              YES                       1

  D - Creditors Holding
                                             YES                       1                                   $                  7,412.50
      Secured Claims

  E - Creditors Holding Unsecured
      Priority Claims
                                             YES                       2                                   $                        0.00

  F - Creditors Holding Unsecured
                                             YES                       6                                   $                 26,889.21
      Nonpriority Claims

  G - Executory Contracts and
      Unexpired Leases
                                             YES                       1

  H - Codebtors                              YES                       1
  I-     Current Income of
         Individual Debtor(s)                YES                       1                                                                    $          1,676.41

  J - Current Expenditures of
      Individual Debtor(s)
                                             YES                       1                                                                    $          2,435.00

                          Total Number of sheets
                                                                       18
                                   in ALL Schedules

                                                        Total Assets        $              6,220.00

                                                                                Total Liabilities          $                 34,301.71
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Official Form 6 - Cont .
(12/03)

  In re: Ryan D Schulkey                                         Jennifer A Schulkey                             ,             Case No.      BK05-45599
                                Debtor                                                                                                       (If known)


                            DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

  I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      19
                                                                                                                           (Total shown on summary page plus 1.)

sheets plus the summary page, and that they are true and correct to the best of my knowledge, information, and belief.




Date: 11/15/2005                                                                    Signature: s/ Ryan D Schulkey
                                                                                                 Ryan D Schulkey


Date: 11/15/2005                                                                    Signature: s/ Jennifer A Schulkey
                                                                                                 Jennifer A Schulkey


                                                                                    [If joint case, both spouses must sign]

         DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP


                                                                          (NOT APPLICABLE)




Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 3571.
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Form 7
(12/03)

                                                   UNITED STATES BANKRUPTCY COURT
                                                           District of Nebraska

In re:    Ryan D Schulkey                              Jennifer A Schulkey                         Case No.   BK05-45599
          2631                                          1844                                       Chapter    7

                                      STATEMENT OF FINANCIAL AFFAIRS

           1. Income from employment or operation of business
None       State the gross amount of income the debtor has received from employment, trade, or profession, or from
           operation of the debtor's business from the beginning of this calendar year to the date this case was
           commenced. State also the gross amounts received during the two years immediately preceding this
           calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather
           than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
           fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under
           chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
           spouses are separated and a joint petition is not filed.)
           AMOUNT                            SOURCE                                         FISCAL YEAR PERIOD

           14,000.00                         Pizza Hut, North Platte Feeders, Lincoln       2003
                                             County Fiargrounds-(H)
                                             Village Inn and Arbys-(W)

           16,140.00                         Midlands Carrier, North Platte                 2004
                                             Telegraph, Prem Door-(H)
                                             Arbys-(W)

           12,646.28                                                                        2005 year to date
                                             Premier Estates and Linden Court

           2. Income other than from employment or operation of business
None
   
           State the amount of income received by the debtor other than from employment, trade,
           profession, or operation of the debtor's business during the two years immediately preceding the
           commencement of this case. Give particulars. If a joint petition is filed, state income for each
           spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
           each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
           petition is not filed.)

           AMOUNT                             SOURCE                                                                FISCAL YEAR PERIOD


           3. Payments to creditors
None
   
           a. List all payments on loans, installment purchases of goods or services, and other debts,
           aggregating more than $600 to any creditor, made within 90 days immediately preceding the
           commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
           payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
           separated and a joint petition is not filed.)

                                                               DATES OF                                AMOUNT              AMOUNT
           NAME AND ADDRESS OF CREDITOR                        PAYMENTS                                PAID                STILL OWING
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       b. List all payments made within one year immediately preceding the commencement of this case
       to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12
       or chapter 13 must include payments by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)
None
  
       NAME AND ADDRESS OF CREDITOR                    DATES OF                                                    AMOUNT
       AND RELATIONSHIP TO DEBTOR                      PAYMENTS                               AMOUNT PAID          STILL OWING




       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year
       immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or
       chapter 13 must include information concerning either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

       CAPTION OF SUIT                                                       COURT OR AGENCY                      STATUS OR
       AND CASE NUMBER                      NATURE OF PROCEEDING             AND LOCATION                         DISPOSITION


       Credit Management Services,          Collection Action                Lincoln County Court                 Garhisment
       Inc., v. Schulkey                                                     North Platte, NE 69101
          CI04-183

       b. Describe all property that has been attached, garnished or seized under any legal or equitable
       process within one year immediately preceding the commencement of this case. (Married debtors
       filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
None
  
       NAME AND ADDRESS                                                                  DESCRIPTION
       OF PERSON FOR WHOSE                                   DATE OF                     AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                           SEIZURE                     PROPERTY


       5. Repossessions, foreclosures and returns
None
  
       List all property that has been repossessed by a creditor, sold at a foreclosure sale,
       transferred through a deed in lieu of foreclosure or returned to the seller, within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include information concerning property of either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                           DATE OF REPOSSESSION,         DESCRIPTION
       NAME AND ADDRESS                                    FORECLOSURE SALE              AND VALUE OF
       OF CREDITOR OR SELLER                               TRANSFER OR RETURN            PROPERTY


       6. Assignments and receiverships
None
  
       a. Describe any assignment of property for the benefit of creditors made within 120 days
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                        TERMS OF
       NAME AND ADDRESS                                     DATE OF                     ASSIGNMENT
       OF ASSIGNEE                                          ASSIGNMENT                  OR SETTLEMENT
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       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official
       within one year immediately preceding the commencement of this case. (Married debtors filing
       under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
None
  
                                                NAME AND ADDRESS                                          DESCRIPTION
       NAME AND ADDRESS                         OF COURT                          DATE OF                 AND VALUE OF
       OF CUSTODIAN                             CASE TITLE & NUMBER               ORDER                   PROPERTY


       7. Gifts
None
  
            List all gifts or charitable contributions made within one year immediately preceding the
       commencement of this case except ordinary and usual gifts to family members aggregating less
       than $200 in value per individual family member and charitable contributions aggregating less
       than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts
       or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses
       are separated and a joint petition is not filed.)

       NAME AND ADDRESS                         RELATIONSHIP                                              DESCRIPTION
       OF PERSON                                TO DEBTOR,                    DATE                        AND VALUE OF
       OR ORGANIZATION                          IF ANY                        OF GIFT                     GIFT


       8. Losses

None
  
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding
       the commencement of this case or since the commencement of this case. (Married debtors filing
       under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

       DESCRIPTION                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                                  LOSS WAS COVERED IN WHOLE OR IN PART                         DATE OF
       PROPERTY                                      BY INSURANCE, GIVE PARTICULARS                               LOSS


       9. Payments related to debt counseling or bankruptcy
None        List all payments made or property transferred by or on behalf of the debtor to any persons,
       including attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law
       or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.
       NAME AND ADDRESS                                        DATE OF PAYMENT,             AMOUNT OF MONEY OR
       OF PAYEE                                                NAME OF PAYOR IF             DESCRIPTION AND VALUE
                                                               OTHER THAN DEBTOR            OF PROPERTY
       George G. Vinton                                        10/17/05, Jane Canell        $300.00
       109 East Second Street, Ste. 8
       P.O. Box 1577
       North Platte, NE 69103-1577



       10. Other transfers
None
  
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       a. List all other property, other than property transferred in the ordinary course of the business or
       financial affairs of the debtor, transferred either absolutely or as security within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                  DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                            TRANSFERRED
       RELATIONSHIP TO DEBTOR                                DATE                                 AND VALUE RECEIVED




       11. Closed financial accounts
None
  
       List all financial accounts and instruments held in the name of the debtor or for the benefit of
       the debtor which were closed, sold, or otherwise transferred within one year immediately preceding
       the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit
       unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning accounts or instruments held by or for either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                             TYPE OF ACCOUNT, LAST FOUR           AMOUNT AND
       NAME AND ADDRESS                                      DIGITS OF ACCOUNT NUMBER,            DATE OF SALE
       OF INSTITUTION                                        AND AMOUNT OF FINAL BALANCE          OR CLOSING


       12. Safe deposit boxes
None
  
       List each safe deposit or other box or depository in which the debtor has or had securities,
       cash, or other valuables within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either
       or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
       NAME AND ADDRESS                         NAMES AND ADDRESSES                DESCRIPTION                   DATE OF TRANSFER
       OF BANK OR                               OF THOSE WITH ACCESS               OF                            OR SURRENDER,
       OTHER DEPOSITORY                         TO BOX OR DEPOSITORY               CONTENTS                      IF ANY


       13. Setoffs
None
  
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor
       within 90 days preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                      DATE OF                                       AMOUNT OF
       NAME AND ADDRESS OF CREDITOR                                   SETOFF                                        SETOFF


       14. Property held for another person
None
  
       List all property owned by another person that the debtor holds or controls.

       NAME AND ADDRESS                                      DESCRIPTION AND VALUE
       OF OWNER                                              OF PROPERTY                          LOCATION OF PROPERTY


       15. Prior address of debtor
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None    If the debtor has moved within the two years immediately preceding the commencement of this
        case, list all premises which the debtor occupied during that period and vacated prior to the
        commencement of this case. If a joint petition is filed, report also any separate address of either
        spouse.

        ADDRESS                                                         NAME USED                               DATES OF OCCUPANCY

        2100 West Ninth Street                                          Ryan and Jennifer Schulkey              6/2003 to 2/2004
        North Platte, NE 69101

        211 North Lincoln                                               Ryan and Jennifer Schulkey              2/2004 to 2/2005
        North Platte, NE 69101

         16. Spouses and Former Spouses
 None
   
         If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
         California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year
         period immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former
         spouse who resides or resided with the debtor in the community property state.

         NAME



        17. Environmental Information.
        For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
        hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
        including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

                "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
                formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

        a.      List the name and address of every site for which the debtor has received notice in writing by a governmental unit
        that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the
        date of the notice, and, if known, the Environmental Law.
None
  
        SITE NAME AND                              NAME AND ADDRESS                   DATE OF                    ENVIRONMENTAL
        ADDRESS                                    OF GOVERNMENTAL UNIT               NOTICE                     LAW




         b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
         Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

 None
   
         SITE NAME AND                        NAME AND ADDRESS                      DATE OF               ENVIRONMENTAL
         ADDRESS                              OF GOVERNMENTAL UNIT                  NOTICE                LAW




         c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
         respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
         to the proceeding, and the docket number.
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 None
   
          NAME AND ADDRESS                           DOCKET NUMBER                                    STATUS OR
          OF GOVERNMENTAL UNIT                                                                        DISPOSITION




         18. Nature, location and name of business
None
  
         a.      If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
         and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
         executive of a corporation, partnership, sole proprietorship, or was a self-employed professional within the six years
         immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
         equity securities within the six years immediately preceding the commencement of this case.


         If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the
         business, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
         percent or more of the voting or equity securities within the six years immediately preceding the
         commencement of this case.


         If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
         business, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
         percent or more of the voting or equity securities within the six years immediately preceding the
         commencement of this case.

                                  TAXPAYER                                                                           BEGINNING AND ENDING
         NAME                     I.D. NUMBER            ADDRESS                          NATURE OF BUSINESS         DATES



          b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
          U.S.C. § 101.
 None
         NAME                                                                      ADDRESS




                                                                  * * * * * *


   [if completed by an individual or individual and spouse]
   I declare under penalty of perjury that I have read the answers contained in the foregoing statement
   of financial affairs and any attachments thereto and that they are true and correct.

      Date 11/15/2005                                         Signature    s/ Ryan D Schulkey
                                                              of Debtor    Ryan D Schulkey


      Date 11/15/2005                                         Signature    s/ Jennifer A Schulkey
                                                              of Joint     Jennifer A Schulkey
                                                              Debtor
            Case 05-45599-TJM                   Doc 7      Filed 11/15/05 Entered 11/15/05 19:05:56                                   Desc Main
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Official Form 8
( 12/03)

                                                 UNITED STATES BANKRUPTCY COURT
                                                              District of Nebraska

  In re:   Ryan D Schulkey                                    Jennifer A Schulkey                                     Case No.      BK05-45599
           2631                                               1844                                                    Chapter       7

                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
      1.   I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.
      2.   I intend to do the following with respect to the property of the estate which secures those consumer debts:

            a.    Property To Be Surrendered.

            Description of Property                                              Creditor's Name

                    None

            b.    Property To Be Retained.                                                 [Check any applicable statement.]


                                                                                                Property will        Debt will be
 Description                                                                      Property      be redeemed          reaffirmed
 of                                     Creditor's                                is claimed    pursuant to          pursuant to
 Property                               Name                                      as exempt     11 U.S.C. § 722      11 U.S.C. § 524(c)   Other

 1.     1998 Plymouth Gran              Wheels                                                                                X
        Voyager
 2.     1995 Ford Taurus-needs Whitetail Finance                                                                              X
        a lot of repairs
        1968 Plymouth- does not
        run

Date:       11/15/2005                                                                         s/ Ryan D Schulkey
                                                                                               Signature of Debtor

Date:       11/15/2005                                                                         s/ Jennifer A Schulkey
                                                                                               Signature of Joint Debtor
             Case 05-45599-TJM                    Doc 7        Filed 11/15/05 Entered 11/15/05 19:05:56                               Desc Main
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                                                        UNITED STATES BANKRUPTCY COURT
                                                                   District of Nebraska
In re:           Ryan D Schulkey                                  Jennifer A Schulkey                                 Case No.       BK05-45599
                                                                                                                      Chapter        7
Debtors
                                DISCLOSURE OF COMPENSATION OF ATTORNEY
                                               FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s)
   and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
   paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
   connection with the bankruptcy case is as follows:

          For legal services, I have agreed to accept                                                                            $                716.00
          Prior to the filing of this statement I have received                                                                  $                 91.00
          Balance Due                                                                                                            $                625.00
2. The source of compensation paid to me was:

                 Debtor                                          Other (specify)
3. The source of compensation to be paid to me is:
                 Debtor                                          Other (specify)

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
             of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of
             my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
             attached.
5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
     including:

     a)      Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file
             a petition in bankruptcy;

     b)      Preparation and filing of any petition, schedules, statement of affairs, and plan which may be required;

     c)      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

     d)      Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e)      [Other provisions as needed]
             None
6. By agreement with the debtor(s) the above disclosed fee does not include the following services:
             None


                                                                        CERTIFICATION
    I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.

  Dated: 11/15/2005

                                                                        /s/ George G. Vinton
                                                                        George G. Vinton, Bar No. 17503

                                                                         George G. Vinton
                                                                         Attorney for Debtor(s)
       Case 05-45599-TJM                       Doc 7       Filed 11/15/05 Entered 11/15/05 19:05:56                                      Desc Main
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                                           UNITED STATES BANKRUPTCY COURT
                               NOTICE TO INDIVIDUAL CONSUMER DEBTOR
                              The purpose of this notice is to acquaint you with the four chapters of the federal
                              Bankruptcy Code under which you may file a bankruptcy petition. The bankruptcy
                              law is complicated and not easily described. Therefore, you should seek the advice
                              of an attorney to learn of your rights and responsibilities under the law should you
                              decide to file a petition with the court. Court employees are prohibited from giving
                              you legal advice.


Chapter 7: Liquidation ($155 filing fee plus $39 administrative fee plus $15 trustee surcharge)

        1.          Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.

        2.       Under chapter 7 a trustee takes possession of all your property. You may claim certain of your property as exempt under
governing law. The trustee then liquidates the property and uses the proceeds to pay your creditors according to priorities of the
Bankruptcy Code.
       3.        The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, your discharge may be denied by the court, and the
purpose for which you filed the bankruptcy petition will be defeated.

       4.         Even if you receive a discharge, there are some debts that are not discharged under the law. Therefore, you may still be
responsible for such debts as certain taxes and student loans, alimony and support payments, criminal restitution, and debts for death or
personal injury caused by driving while intoxicated from alcohol or drugs.

       5.         Under certain circumstances you may keep property that you have purchased subject to valid security interest. Your attorney
can explain the options that are available to you.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($155 filing fee
plus $39 administrative fee)
         1.        Chapter 13 is designed for individuals with regular income who are temporarily unable to pay their debts but would like to
pay them in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
set forth in the Bankruptcy Code.
        2.        Under chapter 13 you must file a plan with the court to repay your creditors all or part of the money that you owe them,
using your future earnings. Usually, the period allowed by the court to repay your debts is three years, but no more than five years.
Your plan must be approved by the court before it can take effect.
       3.       Under chapter 13, unlike chapter 7, you may keep all your property, both exempt and non-exempt, as long as you continue
to make payments under the plan.

        4.        After completion of payments under your plan, your debts are discharged except alimony and support payments, student
loans, certain debts including criminal fines and restitution and debts for death or personal injury caused by driving while intoxicated
from alcohol or drugs, and long term secured obligations.

Chapter 11: Reorganization ($800 filing fee plus $39 administrative fee)
      Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer ($200 filing fee plus $39 administrative fee)
        Chapter 12 designed to permit family farmers to repay their debts over a period of time from future earnings and is in many ways
similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a family
- owned farm.

I, the debtor, affirm that I have read this notice.



 11/15/2005                                   s/ Ryan D Schulkey                                                               BK05-45599
             Date                                                         Signature of Debtor                                            Case Number
 11/15/2005                                   s/ Jennifer A Schulkey
             Date                                                      Signature of Joint Debtor
